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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

------------------------------------------------------x
                                                      :
UNITED STATES OF AMERICA                              :   Docket No. 3:14MJ00154(HBF)
                                                      :
v.                                                    :
                                                      :
RAUL CABAN MARTES                                     :   September 26, 2014
                                                      :
------------------------------------------------------x


                       MOTION TO POSTPONE PRELIMINARY HEARING

          The defendant, Raul Caban Martes, is charged in a complaint dated July 2, 2014, with

conspiracy to unlawfully deal in firearms. He was presented in federal court for the first time on

July 2, 2014, at which time he was detained by the Court. He remains detained at Wyatt Detention

Center.

          The parties have negotiated a tentative resolution that would resolve this matter without

necessitating a probable cause hearing or indictment. Additional time is required for undersigned

counsel to review the proposed resolution with the defendant and to determine how he wishes to

proceed. Accordingly, the defendant seeks an extension of the time within which a preliminary

hearing should be held, and within which an indictment or information must be filed, until October

31, 2014.

          Undersigned counsel has discussed this continuance with the defendant and he consents to it.

A waiver of rights under Rule 5.1(d) and the Speedy Trial Act has been signed by the defendant and

filed electronically. Counsel for the government, Assistant United States Attorney Vanessa

Richards, consents to this continuance.
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                                                     Respectfully submitted,

                                                     The Defendant,
                                                     Raul Caban Martes

                                                     Office of the Federal Defender



Dated: September 26, 2014                              /s/ Sarah A. L. Merriam
                                                     Sarah A. L. Merriam
                                                     Assistant Federal Defender
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                                                     Email: sarah_merriam@fd.org




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 26, 2014, a copy of the foregoing motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access
this filing through the Court’s CM/ECF System.


                                                /s/ Sarah A. L. Merriam
                                                      Sarah A. L. Merriam
